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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR04-549-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   MICHELLE DIEP TO,                    )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An initial hearing on probation revocation in this case was scheduled before me on June

15 16, 2008. The United States was represented by AUSA Susan M. Roe and the defendant by

16 Richard J. Troberman. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about October 24, 2005 by the Honorable James L.

18 Robart on a charge of Aiding and Abetting the Structuring of a Currency Transaction, and

19 sentenced to 5 years probation. (Dkt. 533.)

20          The conditions of probation included the standard conditions plus the requirements that

21 defendant cooperate in the collection of DNA, be prohibited from possessing a firearm, submit to

22 search, participate in a mental health program, participate in a home confinement program with

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 electronic monitoring for 180 days, pay restitution in the amount of $3,000, provide access to

02 financial information, maintain a single checking account for all financial transactions, provide

03 information about any business interests, and disclose all assets and liabilities to the probation

04 office.

05           In an application dated April 28, 2008 (Dkt. 793), U.S. Probation Officer Christopher S.

06 Luscher alleged the following violations of the conditions of probation:

07           1.     Associating with a known felon and fugitive, Cung Nguyen, without permission

08 of the probation office, on or before March 3, 2008, in violation of standard condition number

09 nine.

10           2.     Failing to notify the probation officer within 72 hours of being arrested or

11 questioned by law enforcement, on or before March 3, 2008, in violation of standard condition

12 number 11.

13           3.     Failing to submit a truthful and complete written report to the U.S. Probation

14 Officer within the first five days of each month, for the months of February, March, April, May,

15 June, July, August, September, October, November, and December 2007, and January, February

16 and March 2008, in violation of standard condition number two.

17           Defendant was advised in full as to those charges and as to her constitutional rights.

18           Defendant admitted alleged violations 1 and 3 and waived any evidentiary hearing as to

19 whether they occurred. Defendant denied alleged violation 2 and requested an evidentiary hearing

20 before Judge Robart. (Dkt. 808.)

21           I therefore recommend the Court find defendant violated her probation as alleged in

22 violations 1 and 3, and that the Court conduct a hearing limited to the issue of disposition, and an

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01 evidentiary hearing on violation 2. The next hearing will be set before Judge Robart.

02          Pending a final determination by the Court, defendant has been released on the conditions

03 of probation.

04          DATED this 16th day of June, 2008.



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06                                                Mary Alice Theiler
                                                  United States Magistrate Judge
07

08
     cc:    District Judge:               Honorable James L. Robart
09          AUSA:                         Susan M. Roe
            Defendant’s attorney:         Richard J. Troberman
10          Probation officer:            Christopher S. Luscher

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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